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                         Exhibit A




                                                                              34
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 1                     UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
 2
      JADE WILCOX, on behalf of herself         )    Case No. 2:17-cv-275-RMP
 3    and all others similarly situated,        )
                                                )    Related to Case No. 2:17-cv-00122-
 4                Plaintiffs,                   )    RMP
                                                )
 5          v.                                  )    SETTLEMENT AGREEMENT
                                                )
 6    SWAPP LAW, PLLC, D/B/A                    )
      CRAIG SWAPP AND                           )
 7    ASSOCIATES, AND JAMES                     )
      CRAIG SWAPP, individually,                )
 8                                              )
                  Defendants                    )
 9                                              )
                                                )
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 1                                  INTRODUCTION

 2         Subject to approval by the United States District Court for the Eastern

 3   District of Washington, this Agreement is made and entered into by Plaintiff and

 4   Class Representative Jade Wilcox, on behalf of herself and the Class, and

 5   Defendants James Craig Swapp, and Swapp Law, PLLC, d/b/a Craig Swapp and

 6   Associates, a Utah Professional Limited Liability Company to settle claims against

 7   Defendants subject to the terms and conditions below.

 8                                       RECITALS

 9         A.    On August 9, 2017, Plaintiff filed a Complaint as a putative class

10   action pursuant to Rule 23 of the Federal Rules of Civil Procedure, docketed as

11   Case No. 2:17-CV-275-RMP in the Eastern District of Washington (the “Action”),

12   alleging that Defendants purchased police traffic collision reports (“PTCRs”) from

13   the Washington State Patrol containing personal information protected by the

14   Drivers’ Privacy Protection Act, 18 U.S.C. § 2721 (the “DPPA”), and that

15   Defendants obtained and used personal information in the PTCRs to send Plaintiff

16   and the Class marketing materials in violation of the DPPA.

17         B.    Defendants initially responded to Plaintiff’s Complaint by filing a

18   Motion to Dismiss on October 20, 2017, which the Court denied by Order dated

19   December 21, 2017. After Defendants’ Motion to Dismiss was denied, Defendants

20   filed an Answer to the Complaint.

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 1         C.     During the course of the litigation, Plaintiff served written discovery

 2   on Defendants and document subpoenas on third parties and reviewed thousands of

 3   pages of documents produced in the course of discovery in the Action.

 4         D.     During the course of the litigation, Plaintiff took the depositions of

 5   representatives of the Washington State Patrol, the Washington Department of

 6   Licensing, the Spokane Police Department, and the Washington State Criminal

 7   Justice Training Commission in the course of discovery in the Action.

 8         E.     On August 7, 2018, Plaintiff filed a Motion for Class Certification

 9   (DKT), which the Court granted by Order dated January 25, 2019 (Dkt. 109).

10         F.     On August 20, 2018, Plaintiff filed an Amended Complaint (Dkt. 69)

11   based on information learned through the course of discovery.

12         G.     On September 12, 2018, Defendants responded to the Amended

13   Complaint with a Second Motion to Dismiss (Dkt. 80), which the Court denied by

14   Order dated January 24, 2019 (Dkt. 109).

15         H.     Prior to mediation and as part of settlement negotiations, Defendants

16   provided Class Counsel with confidential information and significant amounts of

17   documentation regarding Defendants financial position. Defendants provided that

18   information to Class Counsel with the intent that Class Counsel would rely upon

19   the financial information in formulating settlement offers, evaluating and

20   negotiation a settlement of this Action. Class Counsel represents that they did rely

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 1   on the financial information and documents provided by Defendants about

 2   Defendants’ financial position in providing advice to Plaintiff as to whether to

 3   settle this case, in making recommendations concerning settlement offers, in

 4   evaluating the benefits of a settlement versus continued litigation, in negotiating a

 5   settlement, and in recommending the settlement and Plaintiff relied on that

 6   information in deciding to agree to this Settlement.

 7         I.     Plaintiff along with Co-Lead Class Counsel and Defendants along

 8   with Defendants’ Counsel participated in and conducted arms-length negotiations

 9   at a mediation session with Hon. Lonny R. Suko on May 23, 2019 and reached an

10   oral agreement in principle on this Settlement that same day.

11         J.     As of the date of the signing of this Agreement, Class Counsel is not

12   aware of any information suggesting that the data provided by Defendants in

13   discovery regarding the members of the Class or the information regarding

14   Defendants financial position were materially inaccurate.

15         K.     As of the date of the signing of this Agreement, Defendants and

16   Defendants’ Counsel is not aware of any information suggesting that the data

17   provided by Defendants in discovery regarding the members of the Class or the

18   information regarding Defendants financial position were materially inaccurate.

19         L.     As a result of the factual investigation and legal research conducted

20   by Class Counsel concerning the claims asserted in the Action and discovery, Class

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 1   Counsel have concluded that terms of this Settlement are fair, reasonable, adequate

 2   and in the best interests of the Class.

 3         M.     Each of the undersigned counsel have informed their respective

 4   clients of and each of the parties are fully informed of the provisions set forth

 5   below.

 6         N.     The parties want to promptly and fully resolve and settle all claims on

 7   the terms of this agreement, subject to the approval of the Court.

 8         The Parties therefore agree as follows:

 9         1.     Definitions.

10                1.1    “Agreement in Principle” means the verbal agreement reached

11   by Plaintiff on behalf of the Class with Defendants on May 23, 2019.

12                1.2    “CAFA” means the Class Action Fairness Act of 2005, 28

13   U.S.C. §§ 1332(d), 1453, 1711-1715.

14                1.3    “Class” means the Class previous certified by this Court on

15   January 25, 2019 as set forth in Section 2.1.

16                1.4    “Class Counsel” or “Co-Lead Class Counsel” means Thomas

17   Jarrard of the Law Offices of Thomas Jarrard and R. Joseph Barton of Block &

18   Leviton LLP.

19                1.5    “Class Member” means a driver who is included in the Class

20   and is not excluded from the Class Definition.

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 1                1.6    “Class Notice” means the notice summarizing the settlement

 2   terms contained herein, as approved by the Court and to be sent to Class Members

 3   as set forth herein in accordance with Section 3.3.

 4                1.7    “Class Period” means the period from September 1, 2013 to

 5   June 23, 2017, inclusive.

 6                1.8    “Court” means the United States District Court for the Eastern

 7   District of Washington.

 8                1.9    “Defendants” means James Craig Swapp, and Swapp Law,

 9   PLLC, d/b/a Craig Swapp and Associates.

10                1.10 “Defendants’ Counsel” means Evans, Craven & Lackie, PS

11   and Lane Powell PC.

12                1.11   “DPPA” means the Drivers’ Privacy Protection Act, 18 U.S.C.

13   § 2721.

14                1.12 “Effective Date” means the date on which the Final Order and

15   Judgment in the Action becomes Final.

16                1.13 “Escrow Account” has the meaning set forth in Section 4.1.

17                1.14 “Escrow Agent” means the Bank with the authority over the

18   Escrow Account.

19                1.15 “Expense Award” means the amount of reimbursement

20   expenses sought by or awarded to Class Counsel by the Court.

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 1                1.16 “Fairness Hearing” means the hearing that is to take place

 2   after the entry of the Preliminary Approval Order and after the Notice is sent to the

 3   Class for purposes of: (a) entering the Final Order and Judgment fully and finally

 4   resolving the Action; (b) determining whether the Settlement should be approved

 5   as fair, reasonable, and adequate; and (c) ruling upon an application by Class

 6   Counsel for an award of attorneys’ fees and the Plaintiff’s service award.

 7                1.17 “Fee Award” means the award of attorneys’ fees sought by or

 8   awarded to Class Counsel and Plaintiff’s Counsel by the Court.

 9                1.18 “Final” means (a) if no objections to the Settlement are filed, or

10   if any objections are filed and voluntarily withdrawn prior to the entry of the Final

11   Order and Judgment, the date after the time to file any appeals of the Final Order

12   and Judgment has expired; or (b) if any objections are filed and not voluntarily

13   withdrawn prior to the entry of the Final Order and Judgment, the later of (i) the

14   expiration of the time to file or notice any appeal or move for reargument from the

15   Court’s judgment approving this agreement, or (ii) the date of final affirmance of

16   any appeals therefrom.

17                1.19 “Final Order and Judgment” means the final judgment of the

18   Court approving the Settlement.

19                1.20 “First Year Cashout Option” has the meaning set forth in

20   Section 10.4.

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 1                  1.21   “Net Class Settlement Fund” has the meaning set forth in

 2    Section 5.3

 3                  1.22 “Party” or “Parties” means Plaintiff on behalf of herself and

 4    the Class and/or the Defendants.

 5                  1.23 “Plan of Allocation” has the meaning set forth in Section 7.1.

 6                  1.24 “PTCR” means a police traffic collision report (and does not

 7    include a collision report completed only by non-police officers (i.e. civilians).

 8                  1.25 “Plaintiff” means Jade Wilcox.

 9                  1.26 “Plaintiff’s Counsel” means Block & Leviton LLP, the Law

10    Office of Thomas Jarrard and the Sweetser Law Office.

11                  1.27 “Preliminary Approval Order” means the order preliminarily

12    approving the Settlement and conditionally certifying the Class, as approved by the

13    Court.

14                  1.28 “Released Claims” has the meaning set forth in Section 12.1.

15                  1.29 “Second Year Cashout Option” has the meaning set forth in

16    Section 10.6.

17                  1.30 “Settled Claims” means the claims that the Parties have agreed

18    to resolve as set forth in Section 12.

19                  1.31 “Settlement” means the settlement of this matter as described

20    in this Agreement.

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 1                1.32 “Settlement Fund” has the meaning set forth in Section 4.3.

 2                1.33 “Settlement Administrator” means the third-party

 3    administrator, who will be proposed by Class Counsel and approved by the Court

 4    to administer the Settlement.

 5                1.34 “Swapp Law” means Swapp Law, PLLC, d/b/a Craig Swapp

 6    and Associates, a Utah Professional Limited Liability Company.

 7    2.    Class Certification.

 8                2.1    Class Definition. The Settlement Class will be the Class

 9    previously certified by the Court on January 25, 2019 as follows:

10          All drivers identified in Police Traffic Collision Reports whose Personal

11          Information, as defined by the DPPA, was derived from a Department of

12          Licensing record (e.g. license, registration or database) and the Report was

13          obtained or used by Swapp Law or James Craig Swapp from the

14          Washington State Patrol between September 1, 2013 and June 23, 2017.

15                Excluded from the Class are (a) current and former clients of

16          Defendants; (b) individuals identified on the same PTCRs as Defendants’

17          clients; (c) individuals who provided written consent to Defendants for the

18          disclosure of their Personal Information (as defined by the DPPA) prior to

19          Defendants obtaining their personal information; (d) employees (and

20          attorneys) of Defendants and members of their immediate families; and (e)

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 1          the presiding judge and anyone working in the presiding judge’s chambers

 2          and the members of their families.

 3                 2.2   Determination of Status as a Class Member. Status as a Class

 4    Member will be determined based on a person being identified as a driver on the

 5    electronic data produced by the Washington State Patrol and the records produced

 6    by Defendants and who meets the definition of a member of the Class. A person

 7    who is not identified as a driver on a PTCR purchased by Defendants in either the

 8    data produced by the Washington State Patrol or the records produced by

 9    Defendants will not be considered a Class Member. To the extent that there is a

10    conflict between the records produced by the Washington State Patrol and the

11    records produced by Defendants as to whether a driver meets the Class Definition,

12    the Settlement Administrator will resolve any reasonable differences in favor of

13    finding that a driver is a Class Member (unless the individual does not otherwise

14    fall within the Class Definition or requests exclusion from the Settlement).

15                 2.3   Defendants’ Non-Opposition. For purposes of settlement only,

16    Defendants will withdraw their currently pending motions for reconsideration of

17    the Court’s order certifying the Class. Defendants shall make no other objection to

18    certification of the Class. Defendants’ agreement to Class certification is

19    conditioned on this Court’s approval of the Settlement becoming Final.

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 1    3.    Class Notice

 2                 3.1   Provision of Class Notice. Upon the Court’s preliminary

 3    approval of this Settlement Agreement and by the date specified by the Court, the

 4    Settlement Administrator will be responsible for providing Class Notice to the Class

 5    Members.

 6                 3.2   Contents. The Class Notice will contain a brief description of

 7    the claims advanced by the Class, a summary of the terms of the Settlement

 8    Agreement, information on the attorneys’ fees and costs sought by Co-Lead Class

 9    Counsel, describe the proposed Plan of Allocation of the Settlement Fund to the

10    Class, the estimated settlement allocation for the Class Member, and provide

11    information about the Fairness Hearing, in the form approved by the Court.

12                 3.3   Method of Providing Class Notice. Class Notice will be

13    provided to each individual Class Member: (a) by either electronic notification (if

14    available and approved by the Court) to Class Members, or, if unavailable or not

15    approved by the Court, by mailing via first class US Mail to all Class Members,

16    and (b) by posting the Class Notice on websites maintained by Co-Lead Class

17    Counsel and the Settlement Administrator. Defendants will cooperate with Co-

18    Lead Class Counsel to facilitate providing Class Notice and other settlement-

19    related communications by providing any known email addresses and mailing

20    addresses for all Class Members, to the extent such information is reasonably

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 1    available in the records of Defendants.

 2                3.4    Cooperation with the Settlement Administrator. The Parties

 3    and their counsel will reasonably cooperate with the Settlement Administrator to

 4    facilitate providing Class Notice and other settlement-related communications and

 5    administration.

 6                3.5    Undeliverable Notices. In the event that a Class Notice sent by

 7    U.S. Mail is returned as undeliverable, the Settlement Administrator will make

 8    reasonable efforts to obtain a valid mailing address and promptly resend the Class

 9    Notice to the Class Member by U.S. Mail.

10                3.6    Class Data. To the extent not already provided, Defendants

11    will provide Class Counsel and the Settlement Administrator with the following:

12                (a)    Within 21 days after this Settlement Agreement is executed, the

13                       name and street mailing address in electronic form for each Class

14                       Member, to the extent such information is reasonably available

15                       in Defendants’ files.

16                (b)    Within 30 days after this Settlement Agreement is executed, the

17                       identifying information, in electronic form if available for the

18                       following: (i) current and former clients of Defendants who

19                       reasonably might be included on a PTCR; (ii) individuals

20                       identified on the same PTCRs as Defendants’ clients; (iii)

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 1                       individuals who provided written consent to Defendants for the

 2                       disclosure of their Personal Information (as defined by the

 3                       DPPA) prior to Defendants obtaining their personal information

 4                       from a PTCR; (iv) employees (and attorneys) of Defendants and

 5                       members of their immediate families who reasonably might be

 6                       listed on a PTCR;

 7                 (c)   Timely provide other information reasonably requested by Co-

 8                       Lead Class Counsel or the Settlement Administrator.

 9                 3.7   Declaration Regarding Class Notice. Within 30 days after the

10    date on which Notice is required to be sent, the Settlement Administrator will file a

11    declaration with the Court confirming that the Notice and related information was

12    sent in accordance with the Preliminary Approval Order.

13    4.    Settlement Fund

14                 4.1   Payment of Cash Settlement Amount into Escrow Account.

15    As settlement of the Class’ claims, Defendants will pay or cause to be paid the

16    Class Cash Settlement Amount of $950,000.00 into the Escrow Account in the

17    name of “Swapp DPPA Litigation Settlement Fund” on the following schedule:

18                 (a)   Defendants have previously made a payment of $100,000.00 to

19                       the Escrow Account.

20                 (b)   Defendants shall make a payment of $400,000.00 to the Escrow

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 1                       Account and cause the payment to be received by the Escrow

 2                       Agent of the Escrow Account (or in other manner as directed by

 3                       Co-Lead Class Counsel Block & Leviton), by no later than 10

 4                       days before the Fairness Hearing.

 5                 (c)   Defendants shall make a payment of $450,000 to the Escrow

 6                       Account and cause the payment to be received by the Escrow

 7                       Agent of the Escrow Account (or in other manner as directed by

 8                       Co-Lead Class Counsel Block & Leviton), by no later than June

 9                       1, 2020 or 180 days following the Fairness Hearing, whichever

10                       is earlier.

11                 4.2   Amounts Not Awarded as Attorneys’ Fees: In addition to the

12    amounts paid in Paragraph 4.1, Swapp Law will pay $1,050,00.00, which subject

13    to the approval by the Court, will be used to pay attorneys’ fees, litigation expenses

14    and costs in the amounts awarded by the Court to Co-Lead Class Counsel and

15    Plaintiff’s Counsel as well as any service award to Plaintiff in the amount ordered

16    by the Court. In the event that the Court awards an amount for attorneys’ fees,

17    litigation expenses, costs and service award that is less than $1,050,000, then the

18    difference between the $1,050,000.00 (or the amount actually paid Defendants

19    pursuant to the First Year Cashout Option or the Second Year Cashout Option) and

20    the amount awarded by the Court will paid to and become part of the Settlement

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 1    Fund.

 2                 4.3    The Settlement Fund. The Settlement Fund will consist of the

 3    monies paid by Defendants into the Escrow Account together with any earnings or

 4    interest thereon. The Settlement Fund held in the Escrow Account will be deemed

 5    to be in the custody of the Court and will remain subject to the jurisdiction of the

 6    Court and will be administered in accordance with the terms of this Agreement and

 7    the orders of the Court. Except as otherwise provided by this Agreement, the

 8    Settlement Fund will not be released from the Escrow Account until the Final

 9    Order and Judgment becomes Final.

10                 4.4    Management of the Settlement Fund. Until the Final Order

11    and Judgment becomes Final, the Settlement Fund will be held in the Escrow

12    Account established by Class Counsel, for which the Escrow Agent will act

13    pursuant to the terms of the respective escrow agreement or as ordered by the

14    Court. After the Final Order and Judgment becomes Non-Appealable, Class

15    Counsel will have the sole right and duty to manage the Settlement Fund in

16    compliance with the terms of the Final Order and Judgment subject only to the

17    directions and orders of the Court. At no time after the Final Order and Judgment

18    becomes Non-Appealable will Defendants have any duty or authority to hold,

19    manage, or invest any portion of the Settlement Fund. Any earnings or interest

20    earned by the Settlement Fund will become part of the Settlement Fund.

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 1                  4.5   Qualified Settlement Fund. The Settlement Fund is intended

 2    by the Parties to be a “qualified settlement fund” for federal income tax purposes

 3    under Treas. Reg. § 1.468B-1 at the earliest date possible

 4          5.      Distributions from the Settlement Fund

 5                  5.1   Expenses Before the Effective Date. Until the Final Order and

 6    Judgment becomes Final, Class Counsel will be authorized to pay from the

 7    Settlement Fund (a) any actual or estimated taxes on any income earned on the

 8    Settlement Fund, (b) upon notice to Defendants, all costs and expenses related to the

 9    preparation of such tax filings or payments, and (c) upon notice to Defendants costs

10    and expenses related to providing the Class Notice not to exceed $100,000.00. Any

11    dispute regarding the reasonableness of any expense incurred, paid or owing will be

12    adjudicated by the Court, but in no event will the Parties cause or allow the

13    Settlement Fund to fail to make a tax payment in a timely manner or fail to send

14    notice to the Class consistent with any Order of the Court.

15                  5.2   Tax & Expense Reserve After the Effective Date. Upon the

16    Final Order and Judgment becoming Final, Co-Lead Class Counsel will be

17    authorized to establish a reserve from the Settlement Fund to pay any taxes that are

18    or will be owed (but not yet due) and for expenses related to payment of taxes or

19    filing of tax returns or to the extent that there are other costs of administration of the

20    Settlement.

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 1                 5.3    Distributions to the Class. After the deduction of any Court-

 2    approved expenses (limited to expenses for Class Notice or administration of the

 3    settlement) and the payment of any taxes or tax-related expenses and the creation of

 4    the reserve for future expenses, the remaining amount of the Settlement Fund (i.e.

 5    the “Net Class Settlement Fund”) will be distributed to Class Members pursuant to

 6    the Plan of Allocation that will be proposed by Co-Lead Class Counsel and as

 7    approved by the Court.

 8                 5.4    Residual Monies in the Settlement Fund. To the extent that

 9    there are additional monies that remain in the Settlement Fund after any Court-

10    approved administration expenses have been paid, including as a result of any

11    uncashed distribution checks, any such residual monies will be paid as follows: (a)

12    to pay all or a portion of the service award, (b) to the extent that there are additional

13    attorneys’ fees, expenses, or costs that were not paid from the separate payment in

14    Section 10, Co-Lead Class Counsel can seek permission from the Court to have such

15    amounts paid, and (c) any remaining monies will be paid to a non-profit charitable

16    organization recommended by Class Counsel and approved by the Court that has

17    privacy as a primary or significant goal of the organization.

18    6.           Non-Monetary Settlement Consideration. In addition to and

19    separate from the Class Cash Settlement Amount and any other monetary amounts

20

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 1    to be paid under this Settlement Agreement, Defendants agree to do the following:

 2                 6.1   Effective on the execution of this Settlement Agreement,

 3    Defendants will refrain from purchasing Police Traffic Collision Reports in or

 4    from the State of Washington for the purpose of acquiring contact information for

 5    potential clients and sending marketing materials to them.

 6                 6.2   Effective on the execution of this Settlement Agreement,

 7    Defendants will cease using any Police Traffic Collision Reports obtained from the

 8    State of Washington or any law enforcement within the State of Washington for

 9    either the purpose of acquiring contact information for potential clients or to send

10    marketing materials to persons who are identified on such PTCRs.

11                 6.3   Within 120 days after the final distribution to the Class

12    Members, Defendants will destroy all PTCRs involving Class Members in their

13    possession and certify in writing to the Court that such reports have been

14    destroyed.

15                 6.4   Within 120 days after the final distribution to the Class

16    Members, Defendants will destroy all records containing photographs of social

17    security numbers, driver’s license identification numbers, names, addresses,

18    telephone numbers, and medical or disability information that they obtained from

19    police traffic collision reports involving Class Members and certify in writing to

20    Plaintiff that such records have been destroyed.

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 1                 6.5    Wwithin 30 days following entry of the Preliminary Approval

 2    Order, Defendants will identify in writing to Co-Lead Class Counsel any third

 3    parties to whom they provided any of the records referenced in Section 3.6(b)-(c)

 4    that they have been able to reasonably identify.

 5                 6.6    Wwithin 30 days following the Effective Date, Defendants will

 6    notify the third parties whom Defendants have been able to reasonably identify as

 7    receiving any of the records referenced in Section 3.6(b)-(c), that Plaintiff and the

 8    Class consider those records to contain information protected by the DPPA and

 9    Defendants will certify in writing to the Court that they have so notified such third

10    parties.

11    7.     Plan of Allocation

12                 7.1    Proposed Plan of Allocation. Co-Lead Class Counsel will

13    propose and submit a Plan of Allocation to the Court as to the recommended method

14    of determining and distributing the proceeds of the Net Class Settlement Fund to

15    members of the Class.

16                 7.2    Defendants’ Non-Involvement. Defendants shall have no input

17    and shall take no position on the Plan of Allocation, including the method of

18    allocation, or the distribution of the Net Class Settlement Fund to Class Members

19    except to the extent the Plan of Allocation is inconsistent with this Settlement

20    Agreement or purports to impose duties or requirements upon Defendants other than

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 1    those agreed to in this Agreement.

 2                 7.3   Modification of Plan of Allocation. If the proposed Plan of

 3    Allocation is rejected or modified by the Court or on appeal, such rejection or

 4    modification will not constitute a material modification of this Settlement, will not

 5    void this agreement, and will not provide a basis for any party to withdraw from this

 6    agreement.

 7                 7.4   No Claim Based on Distribution in Accordance with the

 8    Plan of Allocation. The Class will not have any claim against Plaintiff,

 9    Defendants, or counsel to any of the foregoing, including any of the individuals

10    involved in the distribution under the Plan of Allocation (e.g. the Settlement

11    Administrator), based on any distributions of the Settlement Fund made

12    substantially in accordance with this agreement or as authorized by the Court.

13    8.    Settlement Administration

14                 8.1   Appointment of Settlement Administrator. Co-Lead Class

15    Counsel will propose a Settlement Administrator to be approved by the Court. The

16    Settlement Administrator will be appointed to administer the Settlement and will

17    report to Co-Lead Class Counsel and the Court. Any Settlement Administrator will

18    have experience providing notice to Class Members in consumer or privacy class

19    action settlements, and in supervising and administering settlement funds.

20                 8.2   Settlement Administrator’s Responsibilities. The Settlement

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 1    Administrator will undertake the following tasks to administer this Settlement

 2    consistent with the terms of this Settlement, the Plan of Allocation, and the Orders

 3    of the Court and such other procedures required by the Court or as directed by Co-

 4    Lead Class Counsel:

 5                 (a)    Print and email and/or mail the Class Notice (and any

 6                 accompanying documents) to the Class Members in accordance with

 7                 this Settlement Agreement and any order of the Court and undertake

 8                 to trace and re-mail all undeliverable Class Notices or take other

 9                 reasonable steps to locate missing Class Members;

10                 (b)    Create and maintain a website until at least 180 days after the

11                 final distribution to the Class that will contain a summary of the action

12                 and the settlement and at least the following information and

13                 documents: the Complaint, Order on Class Certification, Orders on

14                 Motions to Dismiss, this Agreement, Preliminary Approval Order,

15                 Class Notice, Class Counsel’s application for attorneys’ fees and costs

16                 (when filed), the Final Approval Order, Plan of Allocation and any

17                 other information about the Settlement;

18                 (c)    Provide Co-Lead Class Counsel and Defendants Counsel with

19                 copies of any request for exclusions from the Class and make

20                 recommendations regarding such requests;

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 1               (d)    Provide Co-Lead Class Counsel and Defendants’ Counsel with

 2               copies of any objections to the Settlement (to the extent such

 3               objections are not filed with the Court);

 4               (e)    Respond to questions from Class Members and confer with

 5               Class Counsel concerning any questions or, as necessary refer Class

 6               Members to Class Counsel for responses;

 7               (f)    Maintain and staff a toll-free phone number until at least six

 8               (6) months after distributions of the Settlement Fund have been made

 9               to Class Members;

10               (g)    File with the Court a declaration confirming compliance with

11               the procedures approved by the Court for providing notice and

12               distribution to the Class;

13               (h)    Calculate the amounts to be paid to Class Members, consistent

14               with instructions from Class Counsel and the court-approved Plan of

15               Allocation as well as any orders of the Court, as to how the Cash

16               Settlement Amount is allocated among the members of the Class;

17               (i)    Monitor the Qualified Settlement Fund and file all

18               informational and other tax returns necessary or advisable with respect

19               to the Settlement Fund (including without limitations the returns

20               described in Treas. Reg. Section 1.468B-2(k));

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 1                 (j)    Pay the Net Class Settlement Fund to Class Members,

 2                 consistent with instructions from Class Counsel and the court-

 3                 approved Plan of Allocation;

 4                 (k)    To the extent feasible, and as approved by the Court, arrange

 5                 for uncashed settlement checks to be escheated; and

 6                 (l)    Any other responsibilities set forth in this Agreement and any

 7                 other responsibilities directed by Co-Lead Class Counsel related to

 8                 administration of the Settlement and consistent with the orders of the

 9                 Court or any other responsibilities ordered by the Court.

10                 8.3   Request for Exclusion. Any Class Member who wishes to

11    exclude themselves from the Class must deliver a signed written request to Class

12    Counsel, Defendants’ Counsel, and the Court. Subject to the approval of or

13    modification by the Court, the request for exclusion must be postmarked by the

14    date set by the Court prior to the Fairness Hearing. Subject to the approval of or

15    modification by the Court, the request for exclusion must include: (1) the name and

16    case number of the Action; (2) the full name, address, and telephone number of the

17    person requesting exclusion; (3) a signed written statement clearly setting forth that

18    the person wants to be excluded from the Class.

19                 8.4   Objections. Any Class Member who wishes to object to the

20    fairness, reasonableness, or adequacy of this agreement must deliver a written

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 1    objection to Class Counsel, Defendants’ Counsel, and the Court. Subject to the

 2    approval of or modification by the Court, the written objection sent to Class

 3    Counsel, Defendants’ Counsel, and the Court must be postmarked at date set by the

 4    Court prior to the Fairness Hearing. Subject to the approval of or modification by

 5    the Court, a written objection must include: (1) the name and case number of the

 6    Action; (2) the full name, address, and telephone number of the person objecting;

 7    (3) a signed written statement detailing the specific reasons, if any, for each

 8    objection, including any legal and factual support the objector wishes to bring to

 9    the Court’s attention and any evidence the objector wishes to introduce in support

10    of the objection(s); and (4) if the Class Member is represented by an attorney, the

11    name, firm name, address, telephone and email address of the attorney. If a Class

12    Member intends to appear at the Fairness Hearing, either with or without counsel,

13    the Class Member must file and serve a timely objection and any Class Member

14    who fails to timely file and serve a written objection and notice of his, her, or its

15    intent to appear at the Fairness Hearing may not be permitted to object to the

16    approval of the Settlement at the Fairness Hearing and shall be foreclosed from

17    seeking any review of the Settlement or the terms of this agreement by appeal or

18    other means.

19                   8.5   Administration Costs. Costs of administering the Settlement,

20    including payment of the Settlement Administrator, costs of the Escrow Agent,

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 1    costs of Class Notice, and taxes and tax-related expenses, will be paid out of the

 2    Settlement Fund. In the event that the Settlement is not approved or approval is

 3    revised on appeal, the costs and expenses paid or incurred to administer the

 4    Settlement and Settlement Fund will be deducted from any amounts to be returned

 5    to Defendants and will not be reimbursed to Defendants.

 6    9.    Approval of the Settlement

 7                 9.1    Preliminary Approval. Co-Lead Class Counsel, on behalf of

 8    the Class will move the Court for preliminary approval of the class action

 9    settlement (the “Preliminary Approval Motion”). The Preliminary Approval

10    Motion will seek an order in a form to be agreed upon by the Parties requesting the

11    Court as follows:

12                 (a)    Preliminarily approve the Settlement on behalf of the Class as

13                        being fair, reasonable, and adequate, subject to further hearing

14                        and determination under Fed. R. Civ. P. Rule 23(e);

15                 (b)    Approve the form, manner, and content of the Class Notice and

16                        the manner of distribution and publication which is consistent

17                        with this Agreement, Rule 23 and the requirements of due

18                        process;

19                 (c)    Appoint the Settlement Administrator;

20                 (d)    Direct that Notice be sent to the Class as set forth herein;

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22                                                                                         60
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 1               (e)   Set the date and time of the Fairness Hearing at least 90

 2                     calendar days after entry of the Preliminary Approval Order,

 3                     subject to the Court’s availability;

 4               (f)   Provide that any objections by any members of the Class to the

 5                     proposed Settlement, and/or the entry of the Final Order and

 6                     Judgment, shall be heard and any papers submitted in support

 7                     of said objections shall be considered by the Court at the

 8                     Fairness Hearing only if any objector files a written objection

 9                     and notice of appearance, within the time set by the Court

10                     consistent with this Agreement;

11               (g)   Establish a date and methods by which any Class Member must

12                     request exclusion consistent with this Agreement;

13               (h)   Establish dates for filing the Final Approval Motion;

14               (i)   Provide that the Fairness Hearing may be continued from time

15                     to time by Order of the Court without further notice;

16               (j)   Preliminarily approve the form of the Final Order and

17                     Judgment;

18               (k)   Require that Defendants produce the Class Data required by

19                     this Settlement and cooperate with the Settlement

20                     Administrator;

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 1                (l)    Continue the stay all proceedings, other than for purposes of

 2                       settlement, until the Court renders a final decision on approval

 3                       of the Settlement; and

 4                (m)    Enjoin Class Members from commencing or prosecuting, either

 5                       directly or indirectly, any action asserting any of the Released

 6                       Claims as set forth herein.

 7                9.2    Final Approval of the Settlement. If the Court preliminarily

 8    approves this Settlement, and if Co-Lead Class Counsel has not exercised its right

 9    to withdraw under this Agreement, Co-Lead Class Counsel will file a motion seeking

10    Final Approval of the Settlement (“Final Approval Motion”). Defendants will

11    either join in or not oppose the Final Approval Motion. The Final Approval Motion

12    will seek entry of a proposed Final Approval Order in a form to be agreed-upon by

13    the Co-Lead Class Counsel and Defendants and will, among other things:

14                 (a)   Order Final Approval of the Settlement set forth in

15                 this Settlement Agreement;

16                 (b)   Adjudge that the Settlement is fair, reasonable and adequate

17                 to the Class pursuant to Rule 23(e);

18                 (c)   Dismiss the Action against Defendants with prejudice;

19                 (d)   Provide that the term “Final Disposition” in the Protective

20                 Order (ECF No. 38) will be modified to mean until Defendants

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 1                have paid all monetary amounts required under the Settlement.

 2                (e)   Adjudge that Plaintiffs and the Class will be deemed

 3                conclusively to have released and waived any and all Settled

 4                Claims against the Defendants as provided in this Settlement

 5                Agreement;

 6                (f)   Bar and permanently enjoin Plaintiffs and the Class from

 7                prosecuting any and all Settled Claims, as provided in this

 8                Settlement Agreement, against the Defendants;

 9                (g)   Determine Co-Lead Class Counsel’s request(s) for Fee

10                Award, Service Awards, and Expense Award;

11                (h)   Retain exclusive jurisdiction, without affecting the finality

12                of the Order entered, with regard to: (i) implementation of this

13                Settlement Agreement; (ii) disposition of the Settlement Fund;

14                and (iii) enforcement and administration of this Settlement

15                Agreement, including the release provisions thereof; and

16                (i)   Find that notice to the appropriate state and federal

17                officials has been provided as required by CAFA and that

18                Defendants have satisfied their obligations pursuant to 28

19                U.S.C. § 1715.

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 1    10.   Payment of Amounts for Attorneys’ Fees, Expenses, and Service Award

 2                 10.1 Plaintiff’s Counsel’s Fees and Expenses & Service Award.

 3    Pursuant to any deadline set by the Court and prior to the deadline for Class Members

 4    to object to the Settlement, Co-Lead Class Counsel will file a motion with the Court

 5    requesting the payment of attorneys’ fees, reimbursement of litigation expenses and

 6    costs on behalf of all Plaintiff’s counsel, and/or a service award to Plaintiff. The

 7                 10.2 Defendants’ Non-Opposition. Defendants will not contest such

 8    motions so long as the motions do not seek payment that would require Defendants

 9    to pay a total amount for attorneys’ fees, expenses and costs to Plaintiff’s counsel

10    and a service award to Plaintiff that cumulatively exceeds the amount set forth in

11    this Section 10.

12                 10.3 Payment Schedule. Swapp Law will pay or cause to be paid

13    $1,050,000.00 into an account designated by Co-Lead Class Counsel and to be

14    delivered in the manner directed by Co-Lead Class Counsel on the following

15    schedule:

16                 (a)    Swapp Law shall make a payment of $350,000.00 into an

17                        account as directed by Co-Lead Class Counsel Block & Leviton,

18                        by no later than December 1, 2020 or a year following the

19                        Effective Date, whichever is earlier.

20                 (b)    Swapp Law shall make a payment of $350,000.00 to into an

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 1                       account as directed by Co-Lead Class Counsel Block & Leviton,

 2                       by no later than December 1, 2021 or two years following the

 3                       Effective Date, whichever is earlier.

 4                 (c)   Swapp Law shall make a payment of $350,000.00 into an

 5                       account as directed by Co-Lead Class Counsel Block & Leviton,

 6                       by no later than June 1, 2022 or 30 months following the

 7                       Effective Date, whichever is earlier.

 8                 10.4 First Year Cashout Option. Defendants will have the option

 9    to make a payment of $900,000.00 to an account designated by Co-Lead Class

10    Counsel and to be delivered in the manner directed by Co-Lead Class Counsel, by

11    no later than December 1, 2020 or a year following the Effective Date, whichever

12    is earlier. If payment of the $900,000.00 is received from Defendants and paid by

13    December 1, 2020 into an account designated and directed by Co-Lead Class

14    Counsel Block & Leviton, then Defendants will have no further obligations under

15    Section 10.2 of this agreement.

16                 10.5 Guarantee by Swapp After December 1, 2020: If Swapp Law

17    has not fully satisfied its obligations under Section 10.4 by December 1, 2020 (i.e.

18    by exercising the First Year Cashout Option and making the required payment by

19    December 1, 2020), James Craig Swapp shall and does personally guarantee the

20    obligations of Swapp Law under Section 10 of this agreement and will be jointly

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 1    and severally liable to pay any outstanding amounts owed pursuant to Section 10.3.

 2                 10.6 Second Year Cashout Option. If Defendants make the

 3    $350,000.00 payment pursuant to Section 10.3(a) by December 1, 2020, but do not

 4    elect to pay the full $900,000.00 pursuant to Section 10.4, Defendants will have the

 5    option to make a payment of $650,000.00 to an account designated by Co-Lead

 6    Class Counsel and to be delivered in the manner directed by Co-Lead Class

 7    Counsel, by no later than December 1, 2021 or two years after the Fairness

 8    Hearing, whichever is earlier. If payment of the $650,000.00 is received from

 9    Defendants and paid by December 1, 2021 into an account designated and directed

10    by Co-Lead Class Counsel Block & Leviton (and the $350,000.00 pursuant to

11    Section 10.2(a) was timely paid), then Defendants shall have no further obligations

12    under Section 10.2 of this agreement upon payment of the $650,000.00.

13                 10.7 Acceleration in the Event of Breach. If either Defendant

14    breaches any obligation under Section 10 of this Agreement or Section 4 of this

15    Agreement:

16                 (a)   All outstanding obligations under Section 4 and Section 10 shall

17                       be immediately due and payable, notwithstanding any date.

18                 (b)   As to any breach that occurs prior to December 1, 2020, Plaintiff

19                       and/or Co-Lead Class Counsel will be entitled to enter judgment

20                       against Swapp Law and Swapp Law will confess and will not

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 1                     contest judgment as to any outstanding amounts owed under the

 2                     Settlement Agreement and Plaintiff and/or Co-Lead Class

 3                     Counsel will be entitled to collect on the amount of the judgment

 4                     as against Swapp Law.

 5               (c)   To the extent that one or more Defendants remain in breach as of

 6                     December 1, 2020 and/or any pre-December 1, 2020 breaches

 7                     have not been cured or remedied, or as to any breach that occurs

 8                     on or arise out of an obligation on or after December 1, 2020,

 9                     Plaintiff and/or Class Counsel will be entitled to amend the

10                     judgment as against both Swapp Law and James Craig Swapp,

11                     authorize Plaintiff to confess judgment on behalf of the Class

12                     against James Craig Swapp for the full amount of any

13                     outstanding obligations under Section 10 of this agreement

14                     without stay of execution or right of appeal, and expressly waive

15                     relief from the immediate enforcement of a judgment.

16               (d)   The remedies listed herein for any breach are in addition to any

17                     other remedies that Plaintiff or Class Counsel may be entitled to

18                     seeking, including interest on the past-due amounts and

19                     attorneys’ fees and expenses incurred in connection with

20                     collection of any overdue amounts or breaches of any obligations

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 1                       under this Agreement.

 2                 10.8 Surety. If Swapp Law is sold or dissolved, James Craig Swapp

 3    ceases involvement in Swapp Law, James Craig Swapp suffers partial or total

 4    disability, James Craig Swapp is diagnosed with an illness carrying with it a

 5    substantial risk of temporary or permanent disability or death, or James Craig

 6    Swapp is divorced, James Craig Swapp shall designate Co-Lead Class Counsel (for

 7    the benefit of the Class) as the beneficiary of a life insurance policy in the amount

 8    of the outstanding obligations under Section 10 as surety for those obligations.

 9                 10.9 Payment of Amounts for Attorneys’ Fees & Expenses in the

10    Event of an Appeal. In the event that there is an appeal of the Settlement or the

11    Final Order and Judgment, such appeal will not suspend Defendants obligations to

12    make payments under this Section by the dates specified in the Agreement; rather,

13    in the event of such an appeal, Defendants will continue to be obligated to and will

14    make the payments required in this Section and Co-Lead Class Counsel will not

15    disburse those amounts, but will arrange to hold any amounts in Escrow until the

16    appeal is resolved. In the event that any such appeal is limited only to the award of

17    attorneys’ fees, reimbursement of expenses or any service award, Co-Lead be

18    entitled to disburse from the Escrow Account of such amount of attorneys’ fees

19    and/or expenses/costs as to which there is no challenge on appeal.

20                 10.10 Defendants’ Attorneys’ Fees & Expenses. Defendants and

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 1    Defendants’ Counsel will bear their own attorneys’ fees, expenses and costs.

 2    11.          Notice Under Class Action Fairness Act

 3                 11.1 CAFA Notice. Pursuant to CAFA, Defendants, at their own

 4    expense, will prepare and provide the CAFA Notice, including the notices to the

 5    United States Department of Justice and to the Attorney Generals of all states in

 6    which the Class Members reside, as specified by 28 U.S.C. § 1715, within ten (10)

 7    days of the execution of this Settlement Agreement.

 8                 11.2 CAFA Notice Provided to Class Counsel. Defendants will

 9    provide Co-Lead Class Counsel and Plaintiffs’ Counsel with a copy of the CAFA

10    Notice and materials that the Defendants sent to the Appropriate Officials within

11    three (3) business days after such notices have been sent. The CAFA Notice and

12    materials will be provided automatically and without further request by Class

13    Counsel.

14    12.          Releases. Upon the Final Order and Judgment becoming Final and

15    provided that each Party has performed all of the respective obligations under this

16    Settlement Agreement to be performed on or prior to such date by each respective

17    Party:

18                 12.1 Release of Defendants by the Class. Plaintiff and the Class

19    Members will release, acquit, and forever discharge Defendants from all claims

20    arising out of Defendants’ acquisition and use of PCTRs that Defendants have

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 1    identified as involving Class Members (the “Released Claims”), and will dismiss

 2    with prejudice their claims asserted in the Action.

 3                  12.2 Release of Plaintiffs and the Class by Defendants.

 4    Defendants shall release, acquit, and forever discharge all claims against Plaintiffs,

 5    each Class Member or Class Counsel that could have been asserted in this Action

 6    related to the filing of this Action including any claims for attorneys’ fees, costs,

 7    expenses or sanctions, that relate to the filing, commencement, prosecution or

 8    settlement of this Action.

 9                  12.3 Non-released Claims. Notwithstanding the foregoing or any

10    other language in this agreement, the Parties are not releasing claims to enforce

11    this agreement or claims concerning the validity of this agreement (including any

12    conditions or representations upon which the Settlement and/or this Agreement

13    was based).

14          13.     No Admission of Wrongdoing

15                  13.1 This agreement reflects the parties’ compromise and Settlement

16    of the Released Claims. Its provisions, and all related drafts, communications, and

17    discussions, cannot be construed as or deemed to be evidence of an admission or

18    concession of any point of fact or law (including, but not limited to, matters

19    respecting class certification) by any person or entity and cannot be offered or

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 1    received into evidence or requested in discovery in the Action or any other action

 2    or proceeding as evidence of an admission or concession.

 3                 13.2 Neither this Settlement Agreement nor the Agreement in

 4    Principle is, or may be deemed to be, or may be used as an admission of, or evidence

 5    of any infirmity in the claims asserted by Plaintiff or Class Members.

 6                 13.3 This Settlement Agreement may be used in such proceedings as

 7    may be necessary to consummate or enforce this Settlement Agreement or the

 8    Final Order, and any Party may file this Settlement Agreement and/or the Final

 9    Order in any action that may be brought against it or any of the Released Parties to

10    support a claim, a defense or counterclaim based on principles of res judicata,

11    collateral estoppel, release, good faith settlement, judgment bar, or reduction or

12    any other theory of claim preclusion or issue preclusion or similar defense or

13    counterclaim, or in any action that may be brought to enforce any claim assigned

14    pursuant to this Settlement Agreement.

15 14.      Conditions of Settlement

16                 14.1 Court Approval. Each of the following is an express condition

17    of Settlement: (a) this Action remains certified as a class action pursuant to Rule

18    23 of the Federal Rules of Civil Procedure on behalf of a Class substantially

19    similar to the Class defined in this Agreement; (b) the Court enters a Preliminary

20    Approval Order substantially in the form as required by this Agreement; and (c)

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 1    the Court enters the Final Order, substantially in the form as required by this

 2    Agreement. In the event that any of these conditions are not met, Co-Lead Class

 3    Counsel and Defendants will each have the right to withdraw from this Settlement

 4    so long as notice of the exercise of such right is provided within 14 days after

 5    issuance of the order on which the right to withdraw is based.

 6                  14.2 Material Correctness of Defendants’ Class Information. It is

 7    an express condition of Settlement that Defendants purchased no more than 9,000

 8    PTCRs that contain the personal information of Class Members. In addition to

 9    other remedies that Plaintiff, the Class or Class Counsel may have, if Defendants

10    purchased than 9,000 PTCRs which include Class Members’ personal information

11    during the Class Period, Class Counsel will have the unilateral right up to (7) days

12    prior to the Settlement becoming Final to withdraw from Settlement and resume

13    the litigation.

14                  14.3 Material Correctness of Defendants’ Financial Information.

15    It is an express condition of Settlement that the information about Defendants

16    financial position provided by Defendants to Co-Lead Class Counsel is materially

17    correct. In addition to other remedies Plaintiff, the Class or Class Counsel may

18    have, if the information about Defendants’ financial position that Defendants

19    provided to Co-Class Counsel is not materially correct, Co-Lead Class Counsel

20    will have the unilateral right up to (7) days prior to the Settlement becoming Final

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 1    to withdraw from Settlement and resume the litigation.

 2                  14.4 Non-conditional Matters. Court approval of the Fee Award,

 3    Service Awards, Expense Award, or the Plan of Allocation are not conditions of

 4    the Settlement. No action by the Court or any courts of appeal related to the Fee

 5    Award, the Service Awards, the Expense Award, or the Plan of Allocation will

 6    prevent the Final Order allowing the approval of the Settlement from becoming

 7    Final.

 8    15.      Effect of Disapproval, Cancellation or Termination

 9                  15.1 Termination Notice. In the event that one of the conditions of

10    this Settlement set forth in Section 14 is not met and the Final Order and Judgment

11    has not become Final, the Party in Section 14 entitled to withdraw based on this

12    condition may void the Settlement within the time period specified in Section 14.

13    To exercise the right of withdrawal under this paragraph, counsel for the party

14    exercising this right must notify Defendants’ Counsel in writing via mail or at the

15    e-mail addresses listed under their names and signatures on this Agreement.

16                  15.2 Effectiveness of Termination Notice. The Termination Notice

17    will become effective to void this Agreement only if and after Co-Lead Class

18    Counsel and Defendants have failed to reach a written agreement within thirty (30)

19    days of the event triggering the Termination Notice to modify this agreement to

20    resolve the issue.

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 1                 15.3 Effect of Withdrawal. In the event that the Court refuses to

 2    grant Preliminary Approval or enter the Final Order and Judgment, or such

 3    approval is reversed on appeal and one of the Parties exercises its right to withdraw

 4    from this Agreement within the time specified above, or any other circumstance

 5    which causes the Final Order and Judgment to not become Final and the Parties

 6    have not entered into a written modification of this Agreement within thirty (30)

 7    days of such occurrence: (a) the monies in the Escrow Account (including any

 8    interest or earnings accrued while in Escrow, but less any amount paid or owing

 9    for taxes or other expenses incurred by Co-Lead Class Counsel or the Settlement

10    Administrator while in Escrow in connection with administering the Settlement

11    Agreement, including any amounts necessary to prepare tax returns or monies paid

12    or owing to the Settlement Administrator) will be returned to each payor, pro rata

13    according to the amount of its/his respective payment(s) into the Settlement Fund

14    upon written request within ten (10) business days of such written request; (b) the

15    Parties will not be released from the claims asserted in this Litigation; (c) both this

16    Agreement and the Agreement in Principle will be void ab initio; and (d) the

17    Parties’ positions, rights and responsibilities will be deemed to have reverted to

18    their respective status in this Action as of May 22, 2019, and, except as may

19    otherwise be expressly provided herein, the Parties will proceed in all respects as if

20    this Agreement and the Agreement in Principle never existed.

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 1    16.          Miscellaneous Provisions

 2                 16.1 Destruction of Confidential Information. The Protective

 3    Order will be modified so that the Final Disposition for purposes of destroying any

 4    confidential materials will be the date on which Defendants make the last monetary

 5    payment under this Settlement Agreement.

 6                 16.2 Continuing Jurisdiction. Plaintiff, on behalf of herself and the

 7    Class, and Defendants agree to submit to the jurisdiction of the Court to resolve

 8    any disputes about the terms of this Settlement, implementation and enforcement

 9    of the Settlement as set forth in this Agreement. The Final Order and Judgment

10    will include a provision that the Court retains jurisdiction over the Parties

11    concerning the Settlement and to enforce the terms of this Agreement. However,

12    no additional Court approval will be necessary to effectuate the Settlement or

13    distribute the Settlement proceeds consistent with this Agreement and any orders

14    entered prior to or in the Final Order and Judgment.

15                 16.3 Enforcement of this Agreement. In the event that any Party to

16    this Agreement believes that another Party to this Agreement has breached the

17    terms of this Agreement, that Party will notify the alleged breaching Party and

18    Counsel in writing setting forth the nature of the breach and the requested method

19    to cure the breach at least 14 days prior to filing any litigation to enforce the terms

20    of the Settlement Agreement (and if the allegedly breaching party is a Class

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 1    Member regardless of whether that Class Member has separate counsel,

 2    Defendants must also notify Co-Lead Class Counsel in writing). In the event that

 3    the allegedly breaching Party fails to cure the alleged breached as set forth in the

 4    written notification after 14 days, the other Party may then file an action to enforce

 5    the Settlement Agreement. In addition to any other remedies that may be available

 6    for a breach (including under a provision of this Agreement) a Party who

 7    demonstrates that a breach occurred, which could have been reasonably cured

 8    within 14 days (or another time set forth in the written notification) and was not

 9    cured within that time, will be entitled to attorneys’ fees and expenses consistent

10    with the standards of the DPPA, 18 USC § 2724(b)(3).

11                 16.4 Waiver. The waiver by one party of any breach of this

12    Settlement Agreement by any other party will not be deemed a waiver of any other

13    breach of this Settlement Agreement. The provisions of this Settlement Agreement

14    may not be waived except by a writing signed by the affected party, or counsel for

15    that party, and as to Plaintiff and the Class only by Co-Lead Class Counsel or

16    orally on the record in court proceedings by Co-Lead Class Counsel or

17    Defendants’ Counsel.

18                 16.5 Change of Time Periods. The time periods and dates described

19    in this Agreement, except for the due dates on which the monetary payments must

20    be made or the dates on which the non-monetary relief must take effect, may be

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 1    modified by the Court. These time periods and dates may be changed by the Court

 2    or by the parties’ written agreement without notice to the Class and a change to any

 3    of the dates and time periods, except the due dates on which the monetary

 4    payments must be made or the dates on which the non-monetary relief must take

 5    effect do not constitute material modifications of the Settlement.

 6                 16.6 Voluntary Agreement. The Parties executed this agreement

 7    voluntarily and without duress or undue influence. All of the Parties warrant and

 8    represent that they are agreeing to the terms of this agreement based upon the legal

 9    advice of their respective attorneys, that they have been afforded the opportunity to

10    discuss the contents of this agreement with their attorneys and that the terms and

11    conditions of this document are fully understood and voluntarily accepted.

12                 16.7 Binding Effect. This Agreement binds and benefits the Parties’

13    respective successors, assigns, legatees, heirs, and personal representatives,

14    provided, however that no assignment by any Party will operate to relieve that

15    Party of its obligations under this Agreement.

16                 16.8 Parties Represented by Counsel. The Parties acknowledge

17    that: (a) they have been represented by counsel of their own choosing during the

18    negotiation of this Settlement and the preparation of this Agreement; (b) they have

19    read this agreement and are fully aware of its contents; and (c) their respective

20    counsel fully explained to them this agreement and its legal effect.

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 1                 16.9 Authorization. Each signatory to this Agreement that he or she

 2    is authorized to enter into this Settlement Agreement on behalf of the respective

 3    party that he or she represents.

 4                 16.10 Entire Agreement. This Agreement contains the entire

 5    agreement between Plaintiff on behalf of the Class and Defendants and constitute

 6    the complete, final, and exclusive embodiment of their agreement with respect to

 7    the Action and supersedes the Agreement in Principle entered into on May 23,

 8    2019. In the event of any conflict between this Settlement Agreement and the

 9    Agreement in Principle, this Settlement Agreement will control. This Agreement is

10    executed without reliance on any promise, representation, or warranty by any party

11    or any party’s representative except those representations and conditions described

12    in this Agreement (including the Recitals).

13                 16.11 Construction and Interpretation: No Party is the Drafter.

14    No Party nor any of the Parties’ respective attorneys will be deemed the drafter of

15    this agreement for purposes of interpreting any provision in this agreement in any

16    judicial or other proceeding that may arise between them. This Agreement has

17    been, and should be construed to have been, drafted by all the parties to it, as a

18    result of arm’s-length negotiations among the Parties and their Counsel so that any

19    rule that construes ambiguities against the drafter will have no force or affect.

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 1                 16.12 Modifications and Amendments. This Settlement Agreement

 2    may be amended or modified only by written instrument signed by Co-Lead

 3    Counsel on behalf of Plaintiffs and the Class and only by Defense Counsel on

 4    behalf of Defendants or by Defendants or their respective successors in interest.

 5                 16.13 Extensions. The Parties reserve the right, subject to the Court’s

 6    approval, to request any reasonable extensions of time that might be necessary to

 7    carry out any of the provisions of this Settlement Agreement.

 8                 16.14 Headings. The headings in this Settlement Agreement are used

 9    for purposes of convenience and ease of reference only and are not meant to have

10    any legal effect, nor are they intended to influence the construction of this

11    Settlement Agreement in any way.

12                 16.15 Governing Law. All terms of this Settlement Agreement and

13    any disputes about this Agreement will be governed by the laws of the State of

14    Washington, without giving effect to its principles of conflicts of law.

15                 16.16 Counterparts. This Settlement Agreement may be executed in

16    one or more original or photocopied counterparts. All executed counterparts will

17    be deemed an original and all counterparts together will constitute one instrument.

18                 16.17 Evidentiary Effect. This Agreement (whether approved or not

19    approved, revoked, or made ineffective for any reason) and any proceedings or

20    discussions related to this agreement (a) will not be used as admission of or

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 1    evidence of any liability or wrongdoing whatsoever in any Court or tribunal in any

 2    state, territory, or jurisdiction, and (b) will not be used as admission or evidence of

 3    any infirmity of the Complaint or claims asserted by the Class . However, this

 4    Settlement Agreement may be used in such proceedings as may be necessary to

 5    consummate or enforce this Settlement Agreement, the Settlement, or the Final

 6    Order; and any Settling Party may file this Settlement Agreement and/or the Final

 7    Order in any action to support a defense or counterclaim based on principles of res

 8    judicata, collateral estoppel, release, good faith settlement, judgment bar, or

 9    reduction or any other theory of claim preclusion or issue preclusion or similar

10    defense or counterclaim.

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                                    [signature page follows]
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 1     Additional Counsel for Plaintiff

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